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                            EXHIBIT 6
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                                                     4762

Teny Geragos

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Case Name:          USA v. Raniere et al
Case Number:        1:18-cr-00204-NGG-VMS
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Docket Text:
ORDER re: the [347], [349] Letters Regarding Expert Disclosures: The Government is
DIRECTED to make its expert disclosures pursuant to Federal Rule of Criminal Procedure
16(a)(1)(G) by no later than February 25, 2019. Defendants are DIRECTED to make their expert
disclosures pursuant to Federal Rule of Criminal Procedure 16(b)(1)(C) by no later than March
15, 2019. Ordered by Judge Nicholas G. Garaufis on 2/19/2019. (Haddad, Andrew)




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